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IN THE UNITED STATES DlSTRlCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE-

WESTERN DIvlsloN ’"‘§‘ §§“ ' " § "§
UNITED sTATES oF AMERICA, ) _`_.;i» _ _
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) O:Um 'D ' _\
) cR No. 04 20063_1\/11'"::~'§ :"i’
) _"Z§l<f)':§ “O '
) §§ §§
CALVIN JONES ) §,:;6 03 a
l :::Or`; `
§ MO_T,ION. GRANTED _§f*? l-\“`
5 JON le'f.»‘l
Defendant. § U.S. DJ_SMJ…
)

 

 

 

 

MOTION TO CONTINUE SENTENCING HEARING

 

COMES NOW the United States of America, by and through Terrell L. I-larris, United
States Attorney and Leonard E. Lucas III, Assistant United States Attorney for the Western
`District of Tennessee, and respectfully moves the Court for an Order Continuing the Sentencing
Hearing in this cause, and in support of which would show the following to the Court:

l. The hearing is currently set for April 20, 2005 at 8:45 A.M.;

2. The United States respectfully requests that this hearing be continuedl Counsel for the
United States Will be out ofthe office from April 18, 2005 to Apn`l 21, 2005.

3. The attorney for the United States has communicated With defense counsel J ake Erwin,

and defense counsel has no objection to the continuance

JON PHIPPS MCCALLA
U. S. DISTRICT JUDGE

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WHEREFORE, PREMISES CONS[DERED, Defendant respectfully moves the Court for

a continuance of the sentencing hearing in this cause.

Respectfully submitted,

TERRELL L. HARRIS
UNITED STATES ATTORNEY

By; ;%/f%/V¢

Leonard E. Lucas III

Assistant Unitcd States Attorney
167 N. Main, Suite 800
Memphis, Tennessee 38103
(901) 544-4231

(Tennessee No. 20184)

 

CERTIFICATE OF SERVICE
I, Leonard E. Lucas III, Assistant United States Attorney for the Western District of
Tennessee, hereby certify that a copy of the foregoing Response of the -United States has been
mailed, first class postage pre-paid, to]al<e Erwin, Attorney at Law, 200 ]efferson Ayenue, Suite
1313, Memphis, TN 38103.
rhis!§__ day OrM, 2005.

Z//§'? z;j”"`

LEONARD E. LUCAS III
Assistant United States Attorney

 

   
 

UNITED sTATE DISTRICT COURT- WESTERN DiSTRiCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 65 in
case 2:04-CR-20068 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listcd.

 

 

Leonard E. Lucas

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Honorable Jon McCalla
US DISTRICT COURT

